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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

IN RE:

EX PARTE APPLICATION OF SPS
CORP I – FUNDO DE
INVESTIMENTO EM DIREITOS
                                                Case No. 1:21-mc-00565-CFC
CREDITÓRIOS NÃO
PADRONIZADOS FOR AN ORDER
TO TAKE DISCOVERY PURSUANT
TO 28 U.S.C. § 1782


        ERNST & YOUNG LLP’S OPPOSITION TO APPLICATION
      Ernst & Young LLP (“EY-US”) respectfully submits this opposition to the ex

parte application under 28 U.S.C. § 1782 (D.I. 1) (the “Application”) submitted by

SPS Corp I – Fundo de Investimento em Direitos Creditórios Não Padronizados

(“SPS”) seeking to take discovery of General Motors Company (“GM”), Deloitte &

Touche LLP, and EY-US.

      The Application should be denied for the reasons stated in GM’s opposition

(D.I. 12). The Application should also be denied because SPS has failed to identify

any information in EY-US’s possession that would be relevant to this decades-long

Brazilian tax dispute, let alone information uniquely in EY-US’s possession and that

would justify SPS’s wildly overbroad proposed discovery requests. One is hard

pressed to find in the Application’s lengthy discussions of arcane Brazilian tax code

provisions and procedural history any discussion of EY-US’s relevance to the
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dispute. (See D.I. 2.) The handful of pages that do discuss EY-US boil down to the

fact that it audited GM’s (publicly available) consolidated financial statements for

the fiscal years 2018 through 2021. (See id. at 5-6.) SPS claims that those financial

statements “include the financial statements of GM Brazil,” and that “[u]pon

information and belief, those financial statements will include information about any

IPI tax overpayments that GM Brazil has recovered or received credit for from the

Brazilian federal government.” (Id.)

      SPS’s vague speculation is flawed but irrelevant, because there is no dispute

that GM Brazil’s financial statements, and all supporting financial records, are in the

possession of GM Brazil.         EY-US, as auditor of the consolidated financial

statements, does not create any financial statements or any of the underlying

financial records, but opines based on its audit procedures whether those financial

statements “present fairly, in all material respects, the financial position of [GM] . . .

in conformity with U.S. generally accepted accounting principles” as of the date of

the statements. (See id. Ex. G (D.I. 2-2), at ECF p. 89 (EY-US audit report contained

in GM’s 2020 Form 10-K); see also id. (“These financial statements are the

responsibility of [GM]’s management. Our responsibility is to express an opinion

on [GM]’s financial statements based on our audits.”).) SPS provides no basis to

believe that EY-US’s audit procedures or audit opinions on the consolidated

financial statements have any relevance to its dispute with GM Brazil.


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      Further, SPS apparently has made a request to the Brazilian court for

discovery from an EY entity in Brazil. (D.I. 12 at 10-11.) This request is presumably

aimed at the EY Brazilian network firm (“EY-Brazil”). EY-US is an entirely

separate and independent firm from EY-Brazil and does not perform any audit

services in Brazil.1 Regardless which EY firm SPS is intending to target in Brazil,

its request to the Brazilian court further confirms SPS’s shotgun approach of

harassing third parties (who indisputably have no unique relevant information) with

discovery requests in an apparent attempt to exert pressure on GM Brazil. More

important, SPS’s request in Brazil also confirms that the Application before this

Court is an improper end-run around the Brazilian proceeding and should be denied.

       Finally, while SPS claims its Application seeks a “discrete universe of

documents and testimony” (D.I. 2 at 26), a brief glance at the discovery requests

aimed at EY-US reveals this as false. In fact, SPS seeks information pertaining to

GM’s worldwide financial statements and related audits with no limitation

whatsoever as to the relevance to SPS’s dispute with GM Brazil. See, e.g., Proposed


1
  Courts have long recognized that EY member firms of the EY international network
are separate and independent of one another. See, e.g., Tuttle v. Sky Bell Asset
Mgmt., LLC, No. 10-cv-3588, 2011 WL 4713233, at *1 (N.D. Cal. Oct. 7, 2011)
(noting that “members of Ernst & Young Global Limited, which is a global
organization of member firms practicing under the Ernst & Young brand, . . . are all
separate legal entities”); Goh v. Baldor Elec. Co., No. 3:98-mc-64, 1999 WL 20943,
at *3 (N.D. Tex. Jan. 13, 1999) (denying motion to compel documents in the
possession of EY-Singapore and EY-Thailand from EY-US because each member
firm is separate from the others).

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Document Subpoena to EY-US (D.I. 2-1), at ECF p. 47 (Request 9: “All documents

and communications concerning audit reports and related documents issued annually

by the independent auditors of [GM] and [GM Brazil].”); Proposed Deposition

Subpoena to EY-US (D.I. 2-1), at ECF p. 53 (Topic 1: “Financial statements and

audit reports of [GM] from September 29, 2017, through the date of this

Application.”); id. at ECF p. 54 (Topic 9: “Audit reports and related documents

issued annually by the independent auditors of [GM] And [GM Brazil].”).) These

requests would be unduly burdensome in any context, let alone when all arguably

relevant information is available from the actual participants in the dispute. See,

e.g., In re Macquarie Bank Ltd., No. 2:14-cv-797, 2015 WL 3439103, at *9 (D. Nev.

May 28, 2015) (“When the information sought is equally available through the

foreign proceeding from a party to that proceeding, such requests targeting a

different person in the United States are by their very nature unduly burdensome.”).2

                                   CONCLUSION

      The Court should reject SPS’s attempt to drag EY-US into a dispute about the

amounts and ripeness of payments that GM Brazil admits it owes a Brazilian plaintiff



2
  To the extent SPS is permitted to serve discovery on EY-US, EY-US reserves the
right to object to the scope of the requests and/or to move for a protective order under
Rule 45. See In re Qualcomm Inc., 162 F. Supp. 3d 1029, 1043 (N.D. Cal. 2016)
(“Requests are unduly intrusive and burdensome where they are not narrowly
tailored, request confidential information and appear to be a broad ‘fishing
expedition’ for irrelevant information.”).

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under Brazilian tax law. (See D.I. 12 at 2.) For the reasons set forth in GM’s

opposition, and for the additional reasons set forth above, the Court should deny the

application.


Dated: March 28, 2022                        Respectfully submitted,

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                                             forthcoming




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          Certificate of Font-Type Size and Word Count Compliance

      I hereby certify that the forgoing brief complies with the Honorable Colm F.

Connolly’s Standing Order Regarding Briefing In All Cases, in that it has been

prepared with Times New Roman font, 14 point, and the substance of this brief totals

981 words according to the word-processing system used to prepare it, which falls

within the 5,000-word limitation.


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